  Case 1:17-mc-02373-NGG Document 1 Filed 08/24/17 Page 1 of 1 PageID #: 1
                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
TAD/JMH                                            271 Cadman Plaza East
F. #2017R01402                                     Brooklyn, New York 11201



                                                   August 24, 2017

By Hand and ECF

The Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      Motion to Close Courtroom
                       Miscellaneous Docket No. 17-2373 (NGG)

Dear Judge Garaufis:

               A proceeding in the above-referenced case is scheduled for August 25, 2017,
at 11:00 a.m. before Your Honor. The government has submitted, under separate cover, its
motion and proposed order to close the courtroom for the proceeding and requests, for the
reasons set forth in the motion, that the motion and any resulting order entered by the Court
be filed under seal. The government has advised counsel for the defendant of the proposed
motion and order, and has provided defense counsel with copies of these documents. The
government further writes to confirm that a public hearing on the motion to close the
courtroom has been scheduled before Your Honor for August 25, 2017, at 10:30 a.m.

                                                   Respectfully submitted,

                                                   BRIDGET M. ROHDE
                                                   Acting United States Attorney

                                           By:      /s/ J. Matthew Haggans
                                                   Tiana A. Demas
                                                   J. Matthew Haggans
                                                   Assistant U.S. Attorneys
                                                   (718) 254-6116 / 6127
cc:    Clerk of Court (NGG) (By ECF)
       LaKeytria Felder, Esq. (By Hand)
       Samuel Jacobson, Esq. (By Hand)
